Case: 3:20-cv-00077-GFVT-EBA Doc#:1-9 Filed: 12/17/20 Page: 1 of 2 - Page ID#: 53

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Kentucky

Charles L. Gallagher
and
Jessica L. Gallagher

 

Plaintiff(s)

Vv. Civil Action No.

Equifax Information Services, LLC,
Experian Information Solutions, Inc.,
Freedom Mortgage Corporation, and

Trans Union, LLC

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Freedom Mortgage Corporation
Serve: CT Corporation System
306 West Main Street, Suite 512
Frankfort, KY 40601

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: James McKenzie James H. Lawson
James R. McKenzie Attorney, PLLC Lawson at Law, PLLC
115 S. Sherrin Avenue, Suite 5 115 S. Sherrin Avenue, Suite 5
Louisville, KY 40207 Louisville, KY 40207

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 12/17/2020

 

 

Signature of Clerk or Deputy Clerk
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

OI personally served the summons on the individual at (place)

 

on (date) ; or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
C) I returned the summons unexecuted because > or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

James McKenzie
Printed name and title

 

James R. McKenzie Attorney, PLLC
115 S. Sherrin Avenue, Suite 5
Louisville, KY 40207

Server’s address

 

Additional information regarding attempted service, etc:
